   Case 1:22-cr-00428-WFK Document 116 Filed 08/02/24 Page 1 of 6 PageID #: 280




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August 2, 2024

By ECF

The Honorable William F. Kuntz, II
United States District Judge
Eastern District of New York
225 Cadman Plaza
Brooklyn, N.Y. 11201

       RE: United States v. Say-Quan Pollack
           Criminal Docket No. 22-CR-428(WFK)

Dear Judge Kuntz:

  I.     Introduction

Pursuant to Rule 32(f) of the Federal Rules of Criminal Procedure, this
sentencing memorandum is submitted on behalf of Mr. Say-Quan Pollack,
who is scheduled to be sentenced on August 13, 2024. Mr. Pollack has
accepted responsibility for his actions and respectfully requests that
the Court impose a sentence that is sufficient but not greater than
necessary to achieve the goals of sentencing. 18 U.S.C., Section 3553(a)

In striking this balance, Say-Quan asks that the Court take into
consideration his history and characteristics, which are marred by
parental abandonment and neglect. The family’s lack of financial
resources led to instability and repeated homelessness. Impoverished
and unhoused, the family moved from shelter to shelter, resulting in
Say-Quan’s prolonged absences from school and placement, along with his
sister, into the foster care system.

Despite this troubled start and other missteps along the way, Say-Quan
had turned the corner in his life. As more fully discussed below, days
before his arrest, Say-Quan was accepted into a selective under-water
welding program, operated under the auspices of the Ultimate Diver
Program of the Ocean Corporation. See, Factors Warranting a Non-
Guideline Sentence, infra at 4.
   Case 1:22-cr-00428-WFK Document 116 Filed 08/02/24 Page 2 of 6 PageID #: 281




The Honorable William F. Kuntz, II
Page 2

  II.   Procedural History

Since his arrest on September 28, 2022, Say-Quan has remained in
custody. On November 14, 2023, pursuant to a written plea agreement,
entered a guilty plea to Count Two of a three count indictment in
violation of 18 U.S.C. 1951(a). This results in a offense level of 24
carrying a range of imprisonment of 63 -78 months.

  III. Offense Conduct

On July 24, 2022, The Leaders of Tomorrow, a place of worship founded
by Pastor Bishop Lamor Whitehead, was robbed during one of its weekly
services. Jewelry and personal items were removed from Bishop Whitehead
and his wife. Whitehead was later indicted, convicted and sentenced in
the Southern District of New York based on a series of frauds, including
defrauding a church parishioner, lenders, and attempting to defraud a
businessman, attempting to extort a businessman as well as lying to
federal agents.

  IV.   Background

Say-Quan Pollack’s life begins in deprivation and neglect. His father
abandoned him as a child. Say-Quan has had no further contact with his
father and is not aware of his circumstances. Without emotional or
financial support, Say-Quan’s mother has barely functioned as a single
parent while fighting a life-long battle to overcome an addiction to
alcohol. This struggle has affected every aspect of her life and the
lives of her children. She was unable to maintain employment which left
the family dependent on government assistance programs. PSR at 36. The
family experienced unstable housing and was often evicted, cycling in
and out of temporary shelters. This disrupted Say-Quan’s socialization
and had a devastating impact on his early education.         Unable to
regularly attend school, Say-Quan suffered academically and socially,
ridiculed for having to repeat grades. PSR at 39.

Say-Quan‘s school absences were so severe that Child Protective Services
removed him and his sibling from the mother’s care. Initially, he was
placed with a maternal aunt. However, she was unable to care for Say-
Quan and his sister, as well as his other siblings from his mother’s
other relationships. Afterwards, Say-Quan and his sister were separated
and placed with different families in the foster care system. At this
time, Say-Quan was just eleven years old when separated from his mother,
his sister, his other siblings and his aunt. PSR at 40.

                                      -2-
   Case 1:22-cr-00428-WFK Document 116 Filed 08/02/24 Page 3 of 6 PageID #: 282




The Honorable William F. Kuntz, II
Page 3

Although Say-Quan did not suffer abuse or neglect during his years in
foster care, he expresses that he never felt truly loved by the families
with whom he was placed. He was eventually placed in the home of
Constance Mahomes with whom he stayed until he aged out of foster care.
He formed a close bond with her and they continue to maintain a strong
and supportive relationship. Ms. Mahomes is aware of this matter and
remains caring and compassionate toward Say-Quan. When interviewed for
the Pre-sentence report, she described Say-Quan as a “wonderful” and
“outgoing young man” who is determined to move past the mistakes he has
made in his life. PSR at 41. While in her care, Say-Quan followed the
rules of her house and was respectful and obedient. After Say-Quan
returned to live with his grandmother, Ms. Mahomes maintained an open-
door policy for him. She has been a positive and consistent influence
in Say-Quan’s life. Her impressions are insightful. She shares that
Say-Quan, like most children, only wanted his family to be together and
has struggled with his relationship with his mother arising from the
adverse consequences of her addiction. PSR at 41.

Say-Quan is single and has not fathered any children. This is an
intentional act, borne out of his painful exposure to parental
abandonment and neglect. It is also a mature decision that demonstrates
his determination to become a better parent for his children than his
parents were for him. PSR at 42.

Though Say-Quan notes difficulty in communicating with his mother due
to her ongoing struggle with alcohol addiction, he strives to stay in
touch with her. He does not blame her for the neglect and deprivation
he experienced as a child. He only wishes the best for her and prays
that she will overcome her addiction.

  V.   Criminal History Adjustment

The Pre-sentence report assigns three (3) criminal history points for
a New York State robbery conviction that occurred in November of 2015
when Say-Quan was seventeen years old. The United States Sentencing
Commission has voted an amendment to the guidelines that will become
effective November 1, 2024. The amendment still gives points to
qualifying juvenile convictions but encourages a downward departure and
consideration of alternatives to incarceration whenever the offense
conduct or conduct in the criminal history score was engaged in before
the defendant’s mid-20’s.

                                      -3-
   Case 1:22-cr-00428-WFK Document 116 Filed 08/02/24 Page 4 of 6 PageID #: 283




The Honorable William F. Kuntz II
Page 4

The Commission’s language is instructive:

          A downward departure also may be warranted due to the
          defendant’s youthfulness at the time of the offense or prior
          offenses. Certain risk factors may affect a youthful
          individual's development into the mid 20s and contribute to
          involvement   in   criminal    justice   systems,   including
          environment, adverse childhood experiences, substance abuse,
          lack    of   educational    opportunities,    and    familial
          relationships. In addition, youthful individuals generally
          are more impulsive, risky seeking, and susceptible to outside
          influence as their brains continue to develop into young
          adulthood. Youthful individuals also are more amenable to
          rehabilitation.   U.S.S.G.    section   5H1.1   Age   (Policy
          Statement).

Say-Quan’s   traumatic   childhood   experiences,   characterized by
instability, insecurity, parental neglect and diminished educational
opportunities have adversely affected every aspect of his life. In
particular, his prolonged absences from school deprived him of the
foundational academic and developmental milestones which early
education provides. In light of these risk factors, we ask that the
Court apply this amendment, and impose a non-guideline sentence.

  VI.   Factors Warranting a Non-Guideline Sentence

Say-Quan makes no excuses. He fully understands that his decisions have
led him to this point in his life. However, there are strong and
unmistakable indicators that Say-Quan is making progress toward
fundamental rehabilitation.

On August 4, 2022, Say-Quan was accepted into The Ocean Corporation’s
Ultimate Diver Training Program. The program trains young people for a
career as under-water welders. He was scheduled to relocate to Texas in
order to begin the course on October 11, 2022. However, he was arrested
on the instant charges thirteen days earlier, on September 28, 2022.
Say-Quan had the courage and ambition to challenge himself by embarking
on a journey to better himself. He has had to live with the anguish of
defeat, having come so close to a dream and having that dream dry up
like a raisin in the sun. To his credit, he is not bitter or angry.


                                      -4-
   Case 1:22-cr-00428-WFK Document 116 Filed 08/02/24 Page 5 of 6 PageID #: 284



The Honorable William F. Kuntz II
Page 5

This disappointment has made him stronger and more determined to change
his life’s arc.

The Pre-sentence report provides an additional example of Say-Quan’s
growth and maturity. Paragraph 28 of the report lists a host of
disciplinary incidents from his custody in the State system. Tellingly,
he has had no disciplinary incidents in the almost two years he has
been held in federal detention. This demonstrates ongoing maturity and
rehabilitation. PSR at 44.

Additionally, he is painfully and responsibly self-aware. As noted in
the PSR at paragraph 47, he acknowledges feelings of angst and
apprehension and has admitted to counsel similar issues that he is
determined to squarely face, address and resolve.

The arrest, trial and conviction of Bishop Lamor Whitehead, one of the
victims here, bears mention and consideration by the Court. Although
the Bishop’s crimes and conviction do not exonerate Say-Quan
nevertheless they are factors which the Court may consider in fashioning
a reasonable sentence that is not greater than necessary to achieve
valid penological goals.

The government’s publicly filed sentencing submission highlights the
extent of Whitehead’s conduct. It reads:

     Lamor Whitehead, the defendant is a career con man and liar who
     has been committing fraud for over 20 years to finance his
     extravagant lifestyle. On March 11, 2024, Whitehead was convicted,
     following a jury trial, of all 5 counts of indictment S1 22 CR.
     692 (LGS) for defrauding a church parishioner, defrauding lenders,
     attempting to defraud a businessman, attempting to extort a
     businessman, and lying to federal agents.     In committing these
     crimes, the defendant abused his position of power and trust as a
     religious leader, lied about his finances, doctored numerous bank
     accounts, and threatened victims, among other things, in order to
     obtain over $7.2 million. Whitehead held himself out as a wealthy
     and successful “real estate investor,” and “prophet,” who, in
     actuality purchased his palatial home and an investment property
     through fraud and with fraud proceeds, reported annual incomes to
     the Internal Revenue Services (IRS) of between five thousand and
     thirteen thousand in tax years 2017 through 2019 and now claims he
     has only $181.54 in the bank. Government sentence letter at ii.



                                      -5-
   Case 1:22-cr-00428-WFK Document 116 Filed 08/02/24 Page 6 of 6 PageID #: 285



The Honorable William F. Kuntz II
Page 6

The most appalling aspect of Whitehead’s conduct is not the fraudulent
multimillion dollar bank fraud but the defrauding of his devoted
parishioner, Pauline Anderson, of the $90,000.00 she earmarked for the
purchase of a home. He swindled her out of the money with a promise to
buy her a home but immediately began spending the money on high-end
goods, including luxury car payments and travel. Government sentence
letter at 8.

  VII. Conclusion

Despite living in poverty, unhoused and unprotected from the vagaries
of his mother’s addiction and his father’s ongoing abandonment, singled
out from his peers who regularly attended school and separated from his
siblings, Say-Quan has persevered. He is not perfect but he has
potential.

He acknowledges his offense conduct and has expressed remorse for his
offense conduct. He is acutely aware that that but for his criminal
conduct he was so close to turning the corner in his life and now must
pay his debt before starting over. He is committed to a new start.

Despite the harsh childhood experiences over which he had no control
and the grievous missteps for which he takes full responsibility, Say-
Quan was well on his way to charting a new and different course. If
given the chance, he can and will do it again.

Based on the foregoing, Your Honor should have no concerns that Say-
Quan will reoffend. He is plainly on target to go forward, not backward.

Thank you for your consideration.

Respectfully submitted,

/s/Gary Villanueva

Gary Villanueva

Cc: A.U.S.A. Rebecca M. Schuman (By ECF and Email)
    Say-Quan Pollack (By Regular mail)




                                      -6-
